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                    UNITED STATES DISTRICT COURT
16         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
      GEORGE LOYA, On Behalf of Himself ) Case No. 5:16-cv-02478 AB (KKx)
18
      and All Others Similarly Situated, )
19                                       ) PLAINTIFFS’ NOTICE OF
20                      Plaintiff,       ) MOTION AND MOTION TO
                                         ) CONSOLIDATE ACTIONS FOR
21    v.                                 ) PRETRIAL PURPOSES AND FOR
22                                       ) APPOINTMENT OF INTERIM
      WESTERN RIVERSIDE COUNCIL          ) CLASS COUNSEL;
23
      OF GOVERNMENTS and                 ) MEMORANDUM OF POINTS AND
24    RENOVATE AMERICA, INC.,            ) AUTHORITIES
25                                       )
                        Defendants.      ) DATE: February 27, 2017
26                                       ) TIME: 10:00 a.m.
27                                       ) JUDGE: Hon. André Birotte Jr.
                                         ) CTRM: 7B
28
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 1
      RICHARD RAMOS, On Behalf of              ) Case No. 5:16-cv-02491 AB (KKx)
 2    Himself and All Others Similarly         )
 3    Situated,                                )
                                               )
 4                         Plaintiff,          )
 5                                             )
 6    v.                                       )
                                               ) JUDGE: Hon. André Birotte Jr.
 7    SAN BERNARDINO ASSOCIATED                ) CTRM.: 7B
 8    GOVERNMENTS and RENOVATE                 )
      AMERICA, INC.,                           )
 9                                             )
10                       Defendants.           )
11    MICHAEL RICHARDSON, On Behalf            ) Case No. 2:16-cv-08943 AB (KKx)
      of Himself and All Others Similarly      )
12    Situated,                                )
13                                             )
                           Plaintiff,          )
14                                             )
15    v.                                       )
                                               )
16
      COUNTY OF LOS ANGELES and                )
17    RENOVATE AMERICA, INC.,                  ) JUDGE: Hon. André Birotte Jr.
18                                             ) CTRM.: 7B
                           Defendants.         )
19                                             )
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 1                         NOTICE OF MOTION AND MOTION
 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3         PLEASE TAKE NOTICE that on February 27, 2017, at 10:00 a.m., or as
 4   soon as the matter may be heard before the Honorable André Birotte Jr., in
 5   Courtroom 7B of the United States District Court for the Central District of
 6   California, located at 350 West First Street, Los Angeles, California, Plaintiffs
 7   George Loya, Richard Ramos and Michael Richardson (“Plaintiffs”), Plaintiffs in
 8   the three above-captioned actions (the “Related Actions”), will move, pursuant to
 9   Federal Rules of Civil Procedure 42(a) and 23(g)(3), for an order consolidating the
10   Related Actions for pretrial purposes, and appointing Wolf Haldenstein Adler
11   Freeman & Herz LLP (“Wolf Haldenstein”) and McLaughlin & Stern LLP as
12   Interim Class Counsel in the consolidated actions.
13         This motion for consolidation is made on the grounds that the Related Actions
14   are substantially identical because each names Renovate America, Inc. (“Renovate
15   America”) as a defendant and alleges identical violations of the Truth in Lending
16   Act, 15 U.S.C. § 1601, et seq. (“TILA”); and the Home Ownership Equity
17   Protection Act, 15 U.S.C. § 1639 (“HOEPA”); as well as similar claims of false,
18   deceptive, and otherwise unlawful practices regarding the origination and
19   administration of Property Assessed Clean Energy Loans (“PACE Loans”) made
20   pursuant to Renovate America’s Home Energy Renovation Opportunity Loans
21   program (“HERO Loans”). Moreover, consolidation of these three cases will
22   promote judicial economy and avoid unnecessary duplicative discovery and motion
23   practice.
24         The motion for appointment of Wolf Haldenstein and McLaughlin & Stern as
25   Interim Class Counsel in these actions is made on the grounds that these firms are
26   best able to represent the interests of the class. Wolf Haldenstein is a leading,
27   nationally recognized class action law firm, with principal offices in California and
28   New York, and with more than 40 years of experience litigating complex class

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 1   actions in this judicial district and elsewhere. McLaughlin & Stern is similarly a
 2   nationally recognized class action law firm. Both have recovered millions of dollars
 3   on behalf of class members in class action cases. Moreover, Wolf Haldenstein and
 4   McLaughlin & Stern have already expended considerable resources, time, and effort
 5   investigating the facts and legal issues underlying these cases and have the
 6   experience and resources to litigate these cases diligently and successfully.
 7         Plaintiffs’ motion is based upon this Notice of Motion, the accompanying
 8   memorandum of points and authorities and the Declaration of Rachele R. Rickert In
 9   Support of Plaintiffs’ Motion to Consolidate Actions for Pretrial Purposes and for
10   Appointment of Interim Class Counsel
11         This motion is made following the conference of counsel pursuant to Local
12   Rule 7-3, which took place on December 30, 2016.
13
14   DATED: January 13, 2017                WOLF HALDENSTEIN ADLER
                                            FREEMAN & HERZ LLP
15
16                                    By:       /s/ Rachele R. Rickert
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                                         and [Proposed] Interim Class Counsel
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.    INTRODUCTION
 3          Three related class actions (the “Related Actions”) are now pending before
 4    this Court asserting claims against Defendant Renovate America, Inc. (“Renovate
 5    America”), as well as three counties, San Bernardino Associated Governments,
 6    Western Riverside Council of Governments and the County of Los Angeles
 7    (together, the “County Defendants”), arising out of Renovate America’s HERO
 8    Loan program. All three actions make identical claims regarding violations of TILA
 9    and HOEPA, as well as similar claims of false, deceptive, and otherwise unlawful
10    practices regarding the origination and administration of the PACE Loans made
11    pursuant to Renovate America’s HERO Loan program.               Plaintiffs respectfully
12    submit that this Court should exercise its authority pursuant to Federal Rule of Civil
13    Procedure 42(a) and consolidate these three Related Actions for pretrial purposes
14    because all three complaints are nearly identical, and there is no question that
15    consolidation will streamline and organize the litigation. There are going to be
16    many issues of law and fact that are identical or overlap among the three Related
17    Actions given that all are HERO programs administered by Defendant Renovate
18    America. Not only will it promote judicial economy, it will also avoid unnecessary
19    duplicative discovery and motion practice, thus saving not only the Court’s time, but
20    the parties’ and their counsels’ time as well. Rule 42(a) specifically contemplates
21    consolidation under these circumstances so that, for example, the parties can file
22    papers once in a Master File that will pertain to all actions where appropriate instead
23    of three separate times and the Court can issue a single ruling affecting all three
24    Related Actions on the overlapping issues.
25          Additionally, Federal Rule of Civil Procedure 23 authorizes the Court to
26    designate interim counsel to act on behalf of the putative class before determining
27    whether to certify the case as a class action. Such appointment is appropriate here to
28    provide organizational structure and leadership during the period before class

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  1   certification when important decisions, such as litigating the class certification
  2   motion, pre-trial motion practice, and discovery, must be made. In appointing
  3   interim class counsel, the Court should appoint attorneys who will best protect and
  4   represent the interests of the class in the vigorous prosecution of the action. Fed. R.
  5   Civ. P. 23(g).
  6         Plaintiffs respectfully submit that this Court should appoint Wolf Haldenstein
  7   Adler Freeman & Herz LLP (“Wolf Haldenstein”) and McLaughlin & Stern LLP as
  8   Interim Class Counsel. Both firms have a wealth of experience and demonstrated
  9   success handling complex class actions such as this including the type of claims at
 10   issue here, are recognized nationwide as leading class action firms, and have already
 11   expended significant resources to investigate and prosecute these actions and have
 12   the resources to continue to do so.         Appointment of Wolf Haldenstein and
 13   McLaughlin & Stern as Interim Class Counsel will best promote the effective and
 14   efficient litigation of these Related Actions.
 15   II.   STATEMENT OF FACTS
 16         On November 1, 2016, Plaintiffs George Loya, Richard Ramos and Michael
 17   Richardson (“Plaintiffs”) filed three separate class actions in California state court.
 18   All three class action complaints name Renovate America as a defendant, and each
 19   also includes a County Defendant. The lawsuits are:
 20         (1)    Richard Ramos, On Behalf of Himself and All Others Similarly Situated
 21   v. San Bernardino Associated Governments and Renovate America, Inc. filed in the
 22   California Superior Court, County of San Bernardino (the “SANBAG Action”);
 23         (2)    George Loya, On Behalf of Himself and All Others Similarly Situated,
 24   v. Western Riverside Council for Governments and Renovate America, Inc., filed in
 25   the California Superior Court, County of Riverside (the “Riverside Action”); and
 26         (3)    Michael Richardson, On Behalf of Himself and All Others Similarly
 27   Situated, v. County of Los Angeles and Renovate America, Inc., filed in the
 28   California Superior Court, County of Los Angeles (the “Los Angeles” Action).


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  1          All three complaints allege that Defendants: (a) violated TILA; (b) violated
  2   HOEPA; (c) secretly double-count and collect excessive and unlawful
  3   administrative fees on HERO Loans; (d) secretly impose and collect unlawful
  4   compound interest on HERO Loans; (d) impose and collect unlawful pre-payment
  5   penalties from HERO Loan borrowers; and (e) do not credit installment payments
  6   on HERO Loans until long after the borrowers make those payments. All three
  7   complaints include the same causes of action for:            (1) violation of TILA; (2)
  8   violation of HOEPA; (3) conspiracy to violate TILA and HOEPA; and (4) violation
  9   of California Business and Professions Code § 17200, et seq. Additionally, the
 10   complaints in the San Bernardino and Riverside Actions also assert violations of the
 11   California Covered Loan Law, California Financial Code § 4790, et seq.
 12          Defendant Renovate America removed the Riverside Action to the Central
 13   District of California on December 1, 2016, and it similarly removed the SANBAG
 14   and Los Angeles Actions on December 2, 2016.                On December 2, 2016, the
 15   Riverside Action was assigned to this Court. On December 8, 2016, Defendant
 16   Renovate America filed notices of related cases in the SANBAG and Los Angeles
 17   Actions, relating those actions to the Riverside Action. On December 14, 2016, the
 18   SANBAG Action was transferred to this Court, and the Los Angeles Action was
 19   transferred to this Court on January 3, 2017. Accordingly, all three Related Actions
 20   are now pending before this Court and, for the orderly prosecution of these cases,
 21   should be consolidated.
 22   III.   LEGAL ARGUMENT
 23          A.    The Actions Should be Consolidated for Pretrial Proceedings
 24          When, as here, two or more actions before the court involve a common
 25   question of law or fact, Rule 42(a) permits the court to:
 26          (1) join for hearing or trial any or all matters at issue in the actions;
 27          (2) consolidate the actions; or
 28          (3) issue any other orders to avoid unnecessary cost or delay.


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  1   Fed. R. Civ. P. 42(a). In exercising the broad discretion given under Rule 42,
  2   “consolidation is favored” by courts in the Ninth Circuit (as elsewhere). In re Oreck
  3   Corp. Halo Vacuum & Air Purifiers Mktg. & Sales Practices Litig., 282 F.R.D. 486,
  4   490 (C.D. Cal. 2012) (citing Perez-Funez v. Dist. Dir., I.N.S., 611 F. Supp. 990, 994
  5   (C.D. Cal. 1984)). In deciding whether to consolidate cases for pretrial purposes, “a
  6   court weighs the interest of judicial convenience against the potential for delay,
  7   confusion and prejudice caused by consolidation.” Oreck, 282 F.R.D. at 490 (citing
  8   Southwest Marine, Inc. v. Triple A Mach. Shop, Inc., 720 F. Supp. 805, 807 (N.D.
  9   Cal. 1989); Huene v. United States, 743 F.2d 703, 704, on reh’g, 753 F.2d 1081 (9th
 10   Cir. 1984)).
 11         In Oreck, the court consolidated six related actions alleging false advertising
 12   and misrepresentation regarding the features and functionality of several vacuums
 13   and air filters manufactured and sold by the defendant. Oreck, 282 F.R.D. at 488.
 14   The court did so because the cases presented “common questions of law and fact,”
 15   even though the technology of the vacuums and air filters differed from one another.
 16   Id. at 490. In all six cases, the plaintiffs made substantially similar allegations of
 17   false advertising: “the gravamen of each action is that Oreck misled consumers into
 18   purchasing products that did not perform as advertised. As such, the actions involve
 19   common questions of law and fact.” Id. The court also found that consolidation
 20   would serve the interests of judicial economy “by promoting efficiency and saving
 21   time for purposes of pretrial discovery and motion practice.” Id.
 22         All three Related Actions should be consolidated here for the same reasons.
 23   Despite minor factual differences in the cases, all three actions unquestionably
 24   involve common questions of fact and law. Indeed, Defendants argued as much in
 25   their Notices of Related Cases, as discussed in further detail below. Consolidating
 26   the three actions for pretrial purposes will undoubtedly promote the interest of
 27   judicial convenience and efficiency. In particular, the three actions raise many
 28   substantially identical fact questions, including whether Defendants violated TILA,


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  1   violated HOEPA, secretly double-count administrative fees on the HERO Loans,
  2   secretly impose compound interest on the HERO Loans, and do not credit
  3   installment payments on HERO Loans when those payments are made. All three
  4   actions share this common nucleus of core facts.
  5         In addition, the three actions also raise many substantially identical questions
  6   of law, including whether the HERO Loans are subject to TILA and HOEPA.
  7   Further, two of the Related Actions allege violations of the California Covered Loan
  8   Law. As such, the three cases have the same or similar and overlapping questions of
  9   law that can be dealt with most efficiently through consolidation.
 10         Moreover, discovery will be overlapping in the three Related Actions.
 11   Consolidation for pretrial purposes will allow the parties to avoid duplication in
 12   producing documents and taking depositions wherever possible.            In addition,
 13   motions to compel discovery could be done in a single proceeding as appropriate.
 14         As demonstrated by the [Proposed] Order Granting Plaintiffs’ Motion to
 15   Consolidate Actions for Pretrial Purposes and for Appointment of Interim Class
 16   Counsel (the “Proposed Order”), submitted concurrently herewith, consolidation
 17   will allow for a single Master File in which documents can be filed once and labeled
 18   as applying to “All Actions” as appropriate. However, should a particular document
 19   apply to less than all three Related Actions, the document can be so labeled and filed
 20   appropriately in the proper docket. Most of the documents will likely be filed in all
 21   three Related Actions by the parties as well as the Court given the same or closely
 22   overlapping legal and factual issues presented as well as the common defendant in
 23   all three:   Renovate America. When the Court decides common issues in a
 24   consolidated proceeding, there will be no doubt whether they need to be addressed
 25   multiple times in each of the otherwise separate dockets. Moreover, consolidation
 26   now will allow for an orderly procedure for later-filed cases to be transferred to the
 27   Master File. See Proposed Order, ¶¶ 2, 6.
 28         There is no prejudice to Defendants to consolidate the Related Actions. All


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  1   three complaints were just filed on November 1, 2016, the transfers to this Court
  2   (which were sought by Defendants) were fully effectuated on January 3, 2017, and
  3   no Defendant has filed an answer. Thus, while Defendants have informed Plaintiffs
  4   that they do not consent to consolidation, all three actions are at the same stage of
  5   the proceedings and Defendants have not presented any specific rationale for
  6   opposing consolidation.     In fact, Plaintiffs intend to maintain three separate
  7   complaints in each of the Related Actions so there is no risk of confusion as to
  8   which County is at issue in any particular instance. However, to the extent the legal
  9   or factual issues are the same or overlap – as is certain to be the case in most
 10   instances – the benefits of efficiency and clarity will be realized by omnibus motion
 11   papers by the parties and rulings by the Court.
 12         Defendants’ Notices of Related Cases in the Related Actions are evidentiary
 13   of their view that these cases raise virtually identical issues of law and fact.
 14   Defendants stated as follows, in pertinent part:
 15
            Ramos, Loya, and Richardson are all putative class actions bringing
 16         largely-identical legal claims for relief, under federal and California
 17         state laws . . . . The cases all principally hinge on the question of
            whether each Government Defendant’s Property Assessed Clean
 18         Energy (“PACE”) program, each implemented as the Home Energy
 19         Renovation Opportunity (“HERO”) Program, complies with certain
 20         federal and state lending laws.
                                               ***
 21
            Plaintiffs in each of the three actions are homeowners who
 22         participated in the HERO Program in their respective communities.
 23         The crux of Plaintiffs’ legal theory is that the property tax assessments
            in each instance constituted “consumer credit transactions”, subject to
 24
            certain consumer loan requirements in the Truth in Lending Act, 15
 25         U.S.C. §§ 1601, et seq. (“TILA”) and the Home Ownership and
 26         Equity Protection Act, 15 U.S.C. § 1639 (“HOEPA”), and a
            “consumer loan” subject to certain requirements of California’s
 27         Covered Loan Law, California Financial Code §§ 4790, et seq.
 28         (“CCLL”). See, generally, Ramos, Loya and Richardson Compls.



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  1                                            ***
  2         With one exception, the complaints all involve identical causes of
            action.
  3
                                               ***
  4
            All three complaints also include the same or similar factual
  5         allegations, including that each HERO Program allegedly involves
  6         excessive and unlawful fees and interest, and that the fees and interest
            allegedly are not adequately disclosed under federal and state laws.
  7         See Ramos, Loya and Richardson Compls. ¶ 4. The only material
  8         differences in factual allegations concern the particular facts relevant
            to the transaction involving the named individual Plaintiff in each
  9         case.
 10   See Defendants’ Notice of Related Cases in the Loya Action [ECF No. 16], attached
 11   to the Declaration of Rachele R. Rickert in Support of Plaintiffs’ Motion to
 12   Consolidate Actions for Pretrial Purposes and for Appointment of Interim Class
 13   Counsel (“Rickert Decl.”) as Exhibit (“Ex.”) A.
 14         As such, given these statements by Defendants, they cannot now credibly
 15   argue the Related Actions do not involve common issues of law and fact such that
 16   consolidation is appropriate. See Oreck, 282 F.R.D. at 490. To the extent they may
 17   argue that there should be separate trials, the Court can order separate trials in all
 18   three Related Actions under Rule 42(b). When cases are consolidated, Rule 42(b)
 19   provides as follows: “For convenience, to avoid prejudice, or to expedite and
 20   economize, the court may order a separate trial of one or more separate issues,
 21   claims, crossclaims, counterclaims, or third-party claims.” Fed. R. Civ. P. 42(b).
 22   Under Rule 42(b), the Court has broad discretion to sever to prevent jury confusion
 23   and judicial inefficiency and to prevent unfair prejudice to a party. See Wynn v.
 24   NBC, 234 F. Supp. 2d 1067, 1088 (C.D. Cal. 2002). Thus, even in cases where, as
 25   here, the parties, counsel, and the Court will benefit from common discovery and
 26   pretrial proceedings, the Court nonetheless has discretion to order separate trials to
 27   avoid the “possibility of factual and legal confusion on the part of the jury.” See
 28   Coleman v. Quaker Oats Co., 232 F.3d 1271, 1297 (9th Cir. 2000) (affirming


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  1   district court’s decision to sever after cases had been joined).
  2          The individual dockets of the Related Actions need not be closed by
  3   consolidation of the Related Actions. Should a pleading or other document relate
  4   just to one of the Related Actions rather than all of them, papers can be filed only in
  5   the docket for that particular Related Action and the issue pertinent just to that
  6   action can be decided in that action. The occasional need to do so, however, does
  7   not negate the significant advantages of efficiency and clarity gained by
  8   consolidation.
  9          Thus, for the foregoing reasons, Plaintiffs respectfully submit that the Court
 10   should consolidate the Related Actions to provide efficiency for the Court and the
 11   parties.
 12          B.    The Court Should Appoint Wolf Haldenstein and McLaughlin &
 13                Stern as Interim Class Counsel
 14          Plaintiffs also seek the appointment of their counsel, Wolf Haldenstein and
 15   McLaughlin & Stern, as interim class counsel in accordance with Rule 23(g)(3).
 16               1.       Rule 23(g)(3) Authorizes the Court to Appoint Interim
                           Class Counsel to Act on Behalf of the Putative Class
 17
                           Before Class Certification
 18
             These actions will require strong stewardship by experienced and well-
 19
      capitalized counsel. In this regard, Rule 23(g)(3) authorizes the Court to “designate
 20
      interim counsel to act on behalf of a putative class before determining whether to
 21
      certify the action as a class action.” As the Advisory Committee noted in the 2003
 22
      amendments to Rule 23, the designation of interim class counsel prior to
 23
      certification is appropriate because:
 24
             [I]t will usually be important for an attorney to take action to prepare
 25
             for the certification decision. The amendment to Rule 23(c)(1)
 26          recognizes that some discovery is often necessary for that
 27          determination. It may also be important to make or respond to motions
             before certification . . . . Rule 23(g)(2)(A) authorizes the court to
 28          designate interim counsel to act on behalf of the putative class before


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  1         the certification decision is made.

  2   Fed. R. Civ. P. 23(g) advisory committee’s notes.
  3          Specifically, Rule 23(g)(1)(B) directs the Court to appoint interim class
  4   counsel who will “fairly and adequately represent the interests of the class.” In
  5   appointing interim class counsel, Rule 23(g)(1) directs the Court to consider the
  6   following factors:
  7             the work counsel has done in identifying or investigating potential
  8              claims in the action;

  9             counsel’s experience in handling class actions, other complex
                 litigation, and claims of the type asserted in the action;
 10
                counsel’s knowledge of the applicable law; and
 11
                the resources counsel will commit to representing the class.
 12
      Rule 23(g)(1)(A)(i)-(iv). Rule 23(g)(1) additionally provides that the Court may
 13
      “consider any other matter pertinent to counsel’s ability to fairly and adequately
 14
      represent the interests of the class.” Rule 23(g)(1)(B).
 15
            It is well-established that a court may appoint lead counsel to direct and
 16
      manage complex cases. See Vincent v. Hughes Air West, Inc., 557 F.2d 759, 774-75
 17
      (9th Cir. 1977). Appointment of interim class counsel eliminates duplication and
 18
      repetition and, in effect, creates a coordinator of diffuse plaintiffs through whom
 19
      motions and discovery proceedings will be channeled, which will most certainly
 20
      redound to the benefit of all parties to the litigation.1
 21
 22
 23
 24
 25   1
             Interim Class Counsel should be given the authority to oversee and conduct
 26   all aspects of the litigation for Plaintiffs and the proposed Class until such time as
 27   the Court rules upon class certification and appoints class counsel pursuant to Rule
      23(g).
 28


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  1                   2. Wolf Haldenstein and McLaughlin & Stern Satisfy the
                      Criteria for Interim Class Counsel
  2
            As detailed below, Wolf Haldenstein and McLaughlin & Stern amply satisfy
  3
      the above stated requirements of Rule 23(g) for appointment as Interim Class
  4
      Counsel.
  5
            First, in terms of the work counsel has done in identifying or investigating
  6
      potential claims in the Related Actions, both firms have dedicated considerable time
  7
      and resources and performed exhaustive research to independently investigate the
  8
      claims. As a result of its considerable efforts, the firms filed three highly detailed
  9
      complaints against Defendant Renovate America and the County Defendants after
 10
      uncovering and analyzing a wealth of pertinent facts and evidence and conducting
 11
      extensive legal research.
 12
            In particular, by reviewing loan documents from a number of clients and
 13
      potential clients, the firms conducted an extensive forensic analysis of the complex
 14
      accounting for the HERO Loans, consulted several times with a forensic accountant,
 15
      parsed through scores of original loan records, and conducted extensive legal
 16
      research on the complex areas of law. As a result of the firms’ thorough pre-
 17
      complaint investigation, the three original complaints were meticulously researched
 18
      and persuasively written. See Rickert Decl., ¶ 3.
 19
            Second, regarding counsel’s experience in handling class actions, other
 20
      complex litigation, and claims of the type asserted in the action, as well as counsel’s
 21
      knowledge of the applicable law, as reflected in their attorney and firm resumes
 22
      attached as Exhibits B and C to the concurrently filed Rickert Declaration, Wolf
 23
      Haldenstein and McLaughlin & Stern are eminently qualified to be appointed
 24
      interim class counsel in these Related Actions. Wolf Haldenstein is among the most
 25
      experienced class action firms in the United States, having represented plaintiffs in
 26
      nationwide class actions and other complex, large-scale litigations for decades. The
 27
      firm’s resume contains a representative list of the many cases Wolf Haldenstein
 28


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  1   prosecuted as lead or primary counsel. The resume also details the results achieved
  2   in those cases and numerous published decisions from the cases in which Wolf
  3   Haldenstein served as lead class counsel. Moreover, it has extensive experience in
  4   handling TILA matters as well as cases under California’s Unfair Competition
  5   laws.2 Quite simply, Wolf Haldenstein’s achievements and reputation are superb.
  6         Courts nationwide have recognized Wolf Haldenstein’s qualifications to serve
  7   as class counsel. See, e.g., K.J. Egleston L.P. v. Heartland Industrial Partners, et
  8   al., No. 2:06-13555 (E.D. Mich.) (praising Wolf Haldenstein at the June 7, 2010
  9   final approval hearing for doing “an outstanding job of representing [its] clients,” as
 10   lead counsel and further commenting that “the conduct of all counsel in this case
 11   and the result they have achieved for all of the parties confirms that they deserve the
 12   national recognition they enjoy.”) (Rickert Decl., Ex. B at 4); Parker Friedland v.
 13   Iridium World Communications, Ltd., No. 99-1002 (D.D.C.) (where the Firm was
 14   co-lead counsel, Judge Laughrey noted (on October 16, 2008), “[a]ll of the attorneys
 15   in this case have done an outstanding job, and I really appreciate the quality of work
 16
 17   2
            Wolf Haldenstein partner Randall Newman has successfully litigated
 18   numerous complex TILA matters. See, e.g., Glucksman v. First Franklin Fin.
      Corp., 601 F. Supp. 2d 511 (E.D.N.Y. 2009) (question of fact whether foreclosure
 19   proceedings initiated in judicial foreclosure state where creditor had engaged in
 20   various pre-filing activities, including send the homeowners a letter telling them that
 21   they were in default and should contact an attorney’s office regarding “any
      foreclosure proceedings” and reporting the status of the loan to credit reporting
 22   agencies as “foreclosure initiated”); Deutsche Bank Nat’l Trust v. West, 881
 23   N.Y.S.2d 362 (N.Y. Sup. Ct. 2009) (statement of rescission deadline as just two
      days after closing extends rescission period; notice stated that closing occurred on
 24   Aug. 26 but consumers allege that it occurred on Aug. 28); Krishtul v. VSLP United,
 25   LLC, No. 10-CV-0909 (RER), 2014 U.S. Dist. LEXIS 32033 (E.D.N.Y. Mar. 11,
      2014) (primary purpose of loan to refinance home loan was consumer, even though
 26
      borrower operated a business from his home and used a small portion of proceeds
 27   for business purposes).
 28


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  1   that we had in our chambers as a result of this case.”) (Rickert Decl., Ex. B at 5); In
  2   re Luxottica Group, S.p.A. Sec. Litig., 2004 WL 2370650, at *5 (E.D.N.Y. Oct. 22,
  3   2004) (selecting Wolf Haldenstein as lead class counsel based of the firm’s
  4   “experience and expertise”); In re Comdisco Sec. Litig., 150 F. Supp. 2d 943, 951
  5   (N.D. Ill. 2001) (noting that Wolf Haldenstein’s credentials “are impeccable”).
  6         In In Re Dynamic Random Access Memory Antitrust Litigation, MDL-02-
  7   1486 (N.D. Cal. filed Oct. 23, 2002), where the firm was co-lead counsel in a
  8   massive antitrust litigation involving many plaintiffs and many defendants, Judge
  9   Phyllis J. Hamilton stated (on August 15, 2007):
 10         I thought that you all did an exceptionally good job of bringing to me
 11         only those matters that really required the Court’s attention. You did an
            exceptionally good job at organizing and managing the case, assisting
 12         me in management of the case. There was excellent coordination
 13         between all the various different plaintiffs’ counsel with your group
            and the other groups that are part of this litigation. . . . So my
 14         conclusion is the case was well litigated by both sides, well managed as
 15         well by both sides.
 16   Rickert Decl., Ex. B at 27-28.
 17         Moreover, at the completion of a very contentious and complicated litigation,
 18   Judge Milton Shadur paid the firm a great compliment:
 19         It has to be said . . . that the efforts that have been extended [by Wolf
 20         Haldenstein] on behalf of the plaintiff class in the face of these
            obstacles have been exemplary. And in my view [Wolf Haldenstein]
 21
            reflected the kind of professionalism that the critics of class actions . . .
 22         are never willing to recognize . . . . I really cannot speak too highly of
 23         the services rendered by class counsel in an extraordinary difficult
            situation.
 24
      In re Comdisco Sec. Litig., No. 01 C 2110 (N.D. Ill. July 14, 2005) (Rickert Decl.,
 25
      Ex. B at 5).
 26
            In In re TXU Corp. Derivative Litig., Consolidated Cause No. 07-1779
 27
      (Dallas County, Tex. 44th Judicial Dist.), Judge Carlos Cortez of the 44th Judicial
 28


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  1   District in Dallas County, Texas, noted of Wolf Haldenstein and its co-lead counsel
  2   upon the successful conclusion of litigation:
  3         You are exactly, the people in this room are exactly what I try to tell
  4         people week in and week out who come to this court to serve as jurors,
            that the profession of law is still noble, and all of you are a credit to the
  5         bar, and I’m humbled to be in your presence.
  6
      TXU Corp., No. 07-1779 (Dallas Cnty., Tex. 44th Jud. Dist.) (April 18, 2008).
  7
            Recently, in Marya v Warner/Chappell Music, Inc., 131 F. Supp. 3d 975
  8
      (C.D. Cal. 2015), Wolf Haldenstein achieved worldwide acclaim for successfully
  9
      representing the plaintiffs in a declaratory judgment action challenging the copyright
 10
      to “Happy Birthday to You,” the world’s most famous song. Through the firm’s
 11
      meticulous efforts, the plaintiffs won summary judgment against the record
 12
      company defendants, ending nearly a century-long, infamous copyright dispute
 13
      when the Court found that Warner/Chappell Music and its predecessors never
 14
      owned a copyright to the song. After winning summary judgment for the plaintiffs,
 15
      Wolf Haldenstein successfully negotiated a settlement including a judicial
 16
      declaration that the song is in the public domain and providing a $14 million fund
 17
      for class members who were forced to pay royalties to use the song.
 18
            Most recently, Wolf Haldenstein served as lead counsel in Ardon v. City of
 19
      Los Angeles, Los Angeles Superior Court, Case No. BC363959, a massive class
 20
      action which challenged the validity of the City of Los Angeles’s telephone users
 21
      tax on behalf of the City’s taxpayers, and achieved a reversal in the California
 22
      Supreme Court of the trial court’s dismissal of the class claims. See Ardon v. City of
 23
      Los Angeles, 52 Cal. 4th 241 (2011). Wolf Haldenstein achieved a $92.5 million
 24
      settlement in the Ardon case that will permit Los Angeles taxpayers to claim refunds
 25
      of the taxes that were unlawfully collected from them. That case is strong evidence
 26
      not only of the outstanding quality of Wolf Haldenstein’s work, but also the firm’s
 27
      dogged perseverance and its ability to coordinate and lead the efforts of many
 28
      plaintiffs’ firms against a vigorous, no-holds-barred defense by a governmental


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  1   authority. See Rickert Decl., Ex. B at 41. See also id. (citing McWilliams v. City of
  2   Long Beach, 56 Cal. 4th 613 (2013), a similar class action where Wolf Haldenstein
  3   serves as lead counsel in an action challenging the City of Long Beach’s telephone
  4   users tax on behalf of Long Beach taxpayers).
  5         Similarly, McLaughlin & Stern has a department that focuses on the
  6   prosecution and defense of individual and consumer class actions. The head of the
  7   department, Lee S. Shalov, has concentrated his practice on consumer class actions
  8   for over thirty years and has been instrumental in recovering tens of millions of
  9   dollars for defrauded consumers in California and nationwide. Another of the firm’s
 10   partners, Matthew D. Sobolewski, has substantial experience prosecuting and
 11   defending financial services companies in cases involving the Truth in Lending Act
 12   and other federal and state consumer protection statutes. See Rickert Decl., Ex. C.
 13         Like Wolf Haldenstein, moreover, Mr. Shalov and his associated firms have
 14   drawn high praise for their efforts on behalf of aggrieved consumers across the
 15   country. For example, as observed by the Court in Varljen v. H.J. Meyers & Co.,
 16   Inc., No. 97 Civ. 6742 (S.D.N.Y.), “I felt at every step of the case that you were
 17   extraordinarily competent, diligent, responsible, helpful to this court and appropriate
 18   in your conduct of this case, and I think the class was well served by your
 19   representation of them, very well served.” Similarly, in approving the settlement
 20   in Cheney v. Cyberguard, Case No. 98-cv-6879 (S.D. Fla.), a securities class action
 21   against a corporate issuer and its executives, United States Magistrate Judge Andrea
 22   M. Simonton observed: “I think that the result was an outstanding result. ... [Q]uite
 23   frankly, I think that if you didn’t have that caliber of counsel on the plaintiffs’ side,
 24   there is no way that these shareholders would be looking at the recovery that they
 25   are and, in my experience, it is a substantial recovery.” And in commenting on the
 26   efforts of Plaintiffs’ trial team in In re: Globalstar Sec. Litig., Case No. 07-cv-
 27   0976 (S.D.N.Y.), the Court observed that Mr. Shalov and his colleagues “have all
 28   done a terrific job in presenting the case for the plaintiffs.”


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  1         Finally, as demonstrated by the firms’ long and distinguished record of
  2   success, Wolf Haldenstein and McLaughlin & Stern possess the ability and
  3   willingness to expend the financial and human resources necessary to prosecute this
  4   litigation on behalf of the proposed class. Wolf Haldenstein has offices in New
  5   York, New York; San Diego, California; and Chicago, Illinois. McLaughlin & Stern
  6   has over 75 lawyers in New York, Florida and Connecticut. They both have proven
  7   that they stand ready and willing to prosecute contingent cases through trial if
  8   necessary and commit the resources required of complex class actions such as the
  9   Related Actions.
 10   IV.   CONCLUSION
 11         For all of the reasons stated above, Plaintiffs request that the Court
 12   consolidate the Related Actions pursuant to Rule 42(a) for pretrial purposes and
 13   appoint Wolf Haldenstein and McLaughlin & Stern as Interim Class Counsel
 14   pursuant to Rule 23(g)(3).
 15
 16   DATED: January 13, 2017              WOLF HALDENSTEIN ADLER
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 17
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